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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTMCT OF LOUISIANA
                                 LAFAYETTE DIVISION

  STATE OF LOUISIANA ET AL CASE NO. 6:22-CV-00885

  VERSUS JUDGE ROBERT R. SUMMERHAYS

  CENTERS FOR DISEASE CONTROL & MAGISTRATE JUDGE CAROL B.
  PREVENTION WHITEHURST


                                              ORDER

         Presently before the Court is the Defendants9 Motion to Stay District Court Proceedings


  Pending Appeal or, in the Alternative, for an Extension of Time to Respond to the Second


  Amended Complaint [ECF No. 114]. The Plaintiffs filed a Partial Opposition to the motion. The

  Court has reviewed the parties9 arguments and finds that a stay of this matter is appropriate.


  Accordingly,


         IT IS ORDERED THAT the Defendants' Motion to Stay District Court Proceedings

  Pending Appeal or, in the Alternative, for an Extension of Time to Respond to the Second


  Amended Complaint [ECF No. 114] is GRANTED and the current proceeding is STAYED

  pending resolution of the appeal in this matter. This stay shall have no impact on the Preliminary


  Injunction [ECF No. 91] entered by the Court on May 20, 2022 which is currently on appeal. In

  the event that circumstances warrant, any party may seek leave to modify the stay for good cause.


          THUS DONE in Chambers on this 4th day of October, 2022.




                                                           ROBERTS. SUMMERHAYS
                                                       UNITED STATES DISTRICT JUDGE
